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Attorney for Creditors
Bosco and Maya Kante
UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA
In the Matter of: Case No. 17-41704 CN13
Rosernary Greene Chapter 13
Stipulation to Dismiss Case
Debtors.

This Stipulation is entered into by and between Debtor Rosemary Greene by and through
her attorney Darya Druch, Moran Law Group Inc. by and through Renee C. Mendoza, and
Creditors Bosco and Maya Kante, by and through their attorney Andrew Christensen.

The parties hereby stipulate to dismissal of the case. This stipulation is to resolve the
Creditor’s Motion to Dismiss filed by Creditors Bosco and Maya Kante on Pebruary 19, 2018.

The parties stipulate that the case will be dismissed immediately upon entry of the order
approving this stipulation, and that the Court will retain jurisdiction to hear the fee application of
Moran Law Group Inc. that has been filed and set for hearing, and that the ease shall be closed
alter the hearing on the fee application
IT ls so STIPULATED;
Dated: ,iune 28. 2018

 

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